        Case 1:24-cv-04355-CBA-CLP Document 7 Filed 06/20/24 Page 1 of 2 PageID #: 21

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

            ANGEL GEOVANNY PUGLLA,                                  )
    individually and on behalf of all others similarly              )
                       situated,                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 24-cv-4355
                                                                    )
   GREEN AND SUSTAINABLE CONSTRUCTION                               )
   CORP. and GEORGE DUFFY, as an individual,
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GREEN AND SUSTAINABLE CONSTRUCTION CORP. (DOS ID: 5895042)
                                           96 Spring Street, 7th Floor, New York, NY 10012
                                           GREEN AND SUSTAINABLE CONSTRUCTION CORP.
                                           96 Spring Street, 7th Floor, New York, NY 10012
                                           GEORGE DUFFY
                                           96 Spring Street, 7th Floor, New York, NY 10012


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                           Roman Avshalumov, Esq.
                                           80-02 Kew Gardens Road, Suite 601
                                           Kew Gardens, NY 11415



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             06/20/2024
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 Civil Action No. 24-cv-4355

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
